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                     EXHIBIT 11
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              IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TEXAS
                         WACO DIVISION


WSOU INVESTMENTS, LLC, d/b/a
BRAZOS LICENSING AND
DEVELOPMENT,

           Plaintiff,                    Civil Action No. 6:20-cv-00725-ADA
                                         Civil Action No. 6:20-cv-00726-ADA
                   v.                    Civil Action No. 6:20-cv-00727-ADA
                                         Civil Action No. 6:20-cv-00728-ADA
HEWLETT PACKARD ENTERPRISE
COMPANY,

           Defendant.




             Declaration of Paul S. Min, Ph.D., in Response to
            Dr. Scott Nettles’ Declaration Dated March 1, 2021
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I, Paul S. Min, Ph.D. declare as follows:

I.     INTRODUCTION

       1.      My name is Paul S. Min, Ph.D. I am currently a Senior Professor in

the Preston M. Green Department of Electrical and Systems Engineering at

Washington University in St. Louis.

       2.      I have been asked by counsel for Hewlett Packard Enterprise

Company (“HPE” or “Defendant”) to provide my opinion regarding a certain claim

term recited in the claims of U.S. Patent No. 7,519,056 Managing Traffic in a

Multiport Network Node Using Logical Ports (“the ’056 Patent”) to Ishwar, et al.

       3.      In particular, I have been asked to review the Declaration of Scott

Nettles, Ph.D. (“Nettles Declaration”), which was submitted by Dr. Scott Nettles

on behalf of the plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and

Development (“Brazos” or “Plaintiff”) on March 1, 2021, and respond to the

opinions stated therein as necessary.

       4.      I am being compensated by HPE for my work on this litigation at my

standard consulting rate of $450 per hour. I am also being reimbursed for any

reasonably incurred expenses. No part of my compensation is contingent upon the

outcome of this litigation. I have no other interests in this litigation or with any of

the parties.



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      5.     I am competent to testify to the matters stated in this declaration, have

personal knowledge of the facts and statements herein, and each of the statements

is true and correct to my knowledge.

II.   QUALIFICATIONS

      6.     I am an expert in the field of communication and computing. I joined

Washington University in St. Louis as an Assistant Professor in 1990 in the

Department of Electrical and Systems Engineering. I am currently a Senior

Professor.

      7.     Before joining Washington University, I spent three years at Bellcore

(now Telcordia Technologies, Inc.), where I was a lead systems engineer for the

Bell Operating Companies assisting in the transition from their voice centric

networks at the time of the AT&T divesture into multi-services capable networks

suited for the Internet era. I received an Outstanding Achievement Award for my

contributions to Bellcore in 1989. Upon arriving at Washington University, I

developed a communication and computer curricula in the School of Engineering

and Applied Science. A complete list of my publications, professional activities,

and honors that I have received is fully set forth in my curriculum vitae, attached

hereto as Appendix A.

      8.     I received a bachelors degree, masters degree, and doctorate degree in

Electrical Engineering from the University of Michigan in 1982, 1984, and 1987,

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respectively. I received several academic honors, including my B.S. degree with

honors, a best graduate student award and a best teaching assistant award during

my M.S. study, and a best paper award from a major international conference for

reporting results from my Ph.D. thesis.

      9.    From 2011 to 2014, I served as the Chair of the Undergraduate

Curriculum, and from 2000 to 2002, I served as the Chair of the Graduate

Curriculum in the Department of Electrical and Systems Engineering at

Washington University.

      10.   I have collaborated and consulted with numerous companies and

organizations around the world and served as an advisor for several national

governments. I also founded and managed two start-up companies, MinMax

Technologies and Erlang Technology, related to communication and computing

systems during 1997-2008. One of the commercial products we developed

received a best product award from a major Internet trade journal in 2002.

      11.   I have received multiple awards for my publications and contributions

to the communication and computing technologies. In 1988, I received the Best

Paper Award at 18th ISATA Award of Technical Excellence in Florence, Italy. I

was also a Rockwell Fellow at the University of Michigan in Ann Arbor in 1988

and 1989. I received a Research Initiation Award in 1993 from the Defense




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Advance Research Project Agency (“DARPA”). I received the Best Paper Award

at MOBILITY 2011 in Barcelona, Spain.

      12.      I was a member of the Presidential Business Advisors Committee (to

President George W. Bush) and was named 2002 Businessman of the Year by the

Wall Street Journal for the State of Missouri, for my entrepreneurial efforts. I have

also served as an Ambassador for the McDonnell International Scholars Academy

(2007-2013).

      13.      In 2014, I served as the Chair of the Saint Louis Section of the IEEE

with more than 3,000 members. I have also served as a member of the Executive

Committee and the Chair of the Communication Society for the Saint Louis

Section of the IEEE for a number of years. I have also been an organizer for

several international symposiums, a guest editor of international journals, and have

given a number of invited presentations.

      14.      I am a listed inventor on eleven U.S. patents related to communication

and computing technologies. I have authored and co-authored about 200 technical

papers, about 100 of which have appeared in various peer-reviewed journals and

conferences.

      15.      Additional details of my education and work experience, awards and

honors, and publications that may be relevant to the opinions I have formed are set

forth in my curriculum vitae.

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III.   MATERIAL CONSIDERED

       16.   As part of my preparation for writing this declaration, I reviewed and

relied on the materials listed in Appendix B.

IV.    UNDERSTANDING THE LAW

       17.   I am not a lawyer, and I do not intend to offer any opinions as to the

interpretation of the law. However, I have a general understanding of claim

construction based on my experience with patents, my work as an expert in other

cases, and my conversations with counsel. I have been informed by counsel of

various legal standards related to claim construction and indefiniteness. I set forth

my understanding below.

       A.    Person of Ordinary Skill in the Art
       18.    I understand that claim construction and indefiniteness are both

analyzed from the perspective of a person having ordinary skill in the art. I

understand that the person of ordinary skill in the art is a hypothetical person of

ordinary creativity, not an automaton. I understand that a person of ordinary skill,

while not someone who undertakes to innovate, is capable of drawing inferences

and taking creative steps. I understand that, in determining the level of skill in the

art, courts consider the type of problems encountered in the art, prior art solutions

to those problems, rapidity with which innovations are made, sophistication of the



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technology, and the educational level of active workers in the field. I understand

that not all of these factors will be relevant in a given case.

       B.     Patent Claims and Claim Construction
       19.    I understand that a patent may include two types of claims,

independent claims and dependent claims, that an independent claim stands alone

and includes only the limitations it recites, that a dependent claim can depend from

an independent claim or another dependent claim, and that a dependent claim

includes all the limitations that it recites in addition to all of the limitations recited

in the claim from which it depends.

       20.    I understand that the words of a claim are generally given their

ordinary and customary meaning that the terms would have to a person of ordinary

skill in the art in question at the time of the invention. I understand that the person

of ordinary skill in the art is deemed to read the claim term not only in the context

of the particular claim in which the disputed term appears, but in the context of the

entire patent, including the specification.

       C.     Indefiniteness
       21.    I understand that 35 U.S.C. § 112, ¶ 2 requires patent claims to be

definite, meaning a claim should “particularly point[] out and distinctly claim[] the

subject matter that the applicant regards as the invention.” I understand that

indefiniteness is to be evaluated from the perspective of someone skilled in the


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relevant art at the time the patent was filed. I understand that, in assessing

indefiniteness, claims are to be read in light of the patent’s specification and

prosecution history. I understand that the definiteness requirement of § 112, ¶ 2

requires that a patent’s claims, viewed in light of the specification and prosecution

history, inform those skilled in the art about the scope of the invention with

reasonable certainty. I understand that the claims, when read in light of the

specification and the prosecution history, must provide objective boundaries for

those of skill in the art. I understand, when a claim term is subjective or directed to

a term of degree (e.g., “greater than”), courts look to the written description of the

patent to determine whether it provides guidance.

      22.    I understand that the factors considered in determining the ordinary

level of skill in a field of art include the level of education and experience of

persons working in the field; the types of problems encountered in the field; and

the sophistication of the technology at the time of the claimed invention, which I

understand is either June 4, 2002 or June 4, 2003 for the ’056 Patent, depending on

whether it is entitled to the provisional application filing date. My opinions in this

declaration would be the same regardless of which of these two dates is used. I

understand that a person of ordinary skill in the art is a hypothetical individual

having the qualities reflected by the factors above. I understand that a person of




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ordinary skill in the art would also have knowledge of the teachings of the prior

art.

       23.    I am informed that the specification of a patent must satisfy a

definiteness requirement, which requires that it conclude with one or more claims

particularly pointing out and distinctly claiming the subject matter which the

applicant regards as the invention.

       24.    I am also informed that definiteness requires that a patent’s claims,

viewed in light of the specification and file history from the perspective of a person

skilled in the relevant art at the time the patent was filed, inform those of ordinary

skill in the art about the scope of the invention with reasonable certainty.

       25.    I understand that a patent must be precise enough to afford clear

notice of what is claimed and apprise the public of what is still open to them in a

manner that avoids a zone of uncertainty which enterprise and experimentation

may enter only at the risk of infringement claims.

       26.   I have followed the above-stated guidelines for the law in providing

my opinions in this declaration.

V.     The ’056 Patent

       27.   The ’056 Patent is entitled, “Managing Traffic in a Multiport Network

Node Using Logical Ports. The ’056 Patent states that “[a] technique for

implementing VLANs across a service provider network involves establishing

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logical ports that have bindings to transport tunnels. The logical ports are then

treated the same as physical ports in defining broadcast domains at particular

service provider edge devices.” (’056 Patent, Abstract.) The ’056 Patent further

states that “[i]n one embodiment, the logical port is bound to a static MPLS tunnel

and in another embodiment, the logical port is bound to a dynamic MPLS tunnel

and the destination IP address of the destination service provider edge device.”

(’056 Patent, Abstract.)

      28.    The following is a figure from the ’056 Patent, which “depicts an

example of a dynamic MPLS tunnel that connects physical port P3 of SPED A to

physical port P4 of SPED B.” (’056 Patent, 4:19-21.)




(’056 Patent, FIG. 10.)


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      29.    With regard to FIG. 10 above, the ’056 Patent states that “a logical

port, identified as ‘LPMPLS.5000’, is bound to MPLS tunnel 700 and to the destination

IP address of SPED B. The subscript number ‘5000’ is a number that is selected by

SPED A to identify the logical port.” (’056 Patent, 9:20-24.) The ’056 Patent

further states that “[i]n operation, the MPLS tunnel ID is used to identify the actual

LSP on which a packet travels. Likewise, the LSP on which the packet travels may

be mapped to a physical port of the SPED (which acts as the ingress label edge

router). The actual LSP that corresponds to the MPLS tunnel is dynamically

determined by an LDP.” (’056 Patent, 9:27-32.)

VI.   CLAIM TERM “DYNAMICALLY DETERMINED”

      30.    The claim term “dynamically determined” is recited in claims 1, 18,

and 21 of the ’056 Patent.

      31.    For reference, I have reproduced claim 1 of the ’056 Patent below.

        A method for managing virtual local area network (VLAN) traffic in a
      network node comprising:
        establishing a logical port within a network node that includes a binding to
          a tunnel;
        associating said logical port with a VLAN;
        receiving traffic at said network node that is associated with said VLAN;
        forwarding said traffic out of said network node using said logical port;
        wherein establishing said logical port includes binding said logical port to
          a dynamic multi-protocol label switched (MPLS) tunnel and a
          destination IP address and wherein the dynamic MPLS tunnel is an
          MPLS tunnel that does not specify a particular label switch path (LSP)
          that is to be used to reach a target destination and wherein the LSP that
          corresponds to the MPLS tunnel is dynamically determined by a label
          distribution protocol (LDP); and
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        wherein said logical port includes a binding to a virtual circuit (VC)
         identifier (ID) that is to be used for a VC label in a layer 2 MPLS label
         stack.
VII. PERSON OF ORDINARY SKILL IN THE ART

      32.    The Nettles Declaration states that “a person of ordinary skill in the

art would be represented by a person with a computer science, electrical

engineering, or computer engineering degree and two or more years of professional

experience designing and implementing computer networks and/or computer

network software.” (Nettles Declaration, paragraph 16.)

      33.    While I agree with Dr. Nettles’ opinion regarding the fields (i.e.,

computer science, electrical engineering, or computer engineering), I find his

opinion unclear as to what level of degree is required. In my opinion, the degree

should be at the Bachelors level. In addition, I disagree that the computer network

software alone may provide sufficient relevant experience for the subject matter

discussed in the ’056 Patent. This is because the ’056 Patent is related to the

establish VLANs across the MPLS domain, wherein the speed of packets

traversing cannot be supported by the software operation. A person of ordinary

skill in the art must have networking hardware experience for the implementation

of VLAN packets tunneling through the MPLS domain.

      34.    In my opinion, a person of ordinary skill in the art would have had a

minimum of a Bachelors degree in electrical engineering, computer engineering,

computer science, or closely related fields with two or more years of experience in
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computer networking. I based my opinion on my own professional experience, my

understanding of those who practices the technical subject of the ’056 Patent, and

the experience levels of the workers in the field, many of whom I hired in my own

companies.

VIII. MY RESPONSES TO THE NETTLES DECLARATION

      35.    The ’056 Patent states that “[a]nother technique that is used to tunnel

traffic through an intermediate network involves the use of multiprotocol label

switching (MPLS). Using MPLS, incoming packets are assigned a ‘label’ by a

‘label edge router.’ Packets are forwarded along a ‘label switch path’ (LSP)

through a series of connected ‘label switch routers.’ (’056 Patent, 7:3-8.)

      36.    In order to address whether or not the claim term “dynamically

determined” recited in claims 1, 18, and 21 of the ’056 Patent is indefinite, a key

question at hand is how the Label Distribution Protocol (“LDP”) determines a

particular LSP to be used to reach a target destination. As I will explain below, in

my opinion, the claim term “dynamically determined” is vague and confusing and

does not define the scope of claims 1, 18, and 21 and as such, it is indefinite.

      37.    A standard document entitled, “LDP Specification,” which is known

as the Request for Comments 5036 (“RFC 5036”), was published by the Internet

Engineering Task Force Network Working Group in October 2007. It replaces an

earlier version of the LDP Specification, RFC 3036, which was published in

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January 2001. (RFC 5036, 5). These two versions span the time of alleged

invention in the ’056 Patent, and so they help to illustrate what a person of

ordinary skill in the art would have known and considered in that time frame.

Moreover, RFC 5036 includes a “Changes from RFC 3036” section that shows

none of the disclosure relied upon in this declaration changed between the

publication of RFC 3036 and RFC 5036. (See RFC 5036, 90-93).

      38.    The ’056 Patent cites to and incorporates by reference two IETF

documents. ’056 patent at 7:43–47 (incorporating by reference draft-martini-

l2circuit-encap-mpls-09.txt and draft-martini-12circuit-encap-mpls-04). Neither of

these IETF documents discuss the term “dynamically,” but draft-martini-l2circuit-

encap-mpls-09 cites to RFC 3036.

      39.    RFC 5036 states that “[t]he architecture for Multiprotocol Label

Switching (MPLS) is described in RFC 3031. A fundamental concept in MPLS is

that two Label Switching Routers (LSRs) must agree on the meaning of the labels

used to forward traffic between and through them. This common understanding is

achieved by using a set of procedures, called a label distribution protocol, by which

one LSR informs another of label bindings it has made. This document defines a

set of such procedures called LDP (for Label Distribution Protocol) by which

LSRs distribute labels to support MPLS forwarding along normally routed paths.”

(RFC 5036, Abstract); (RFC 3036, Abstract).

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      40.    I note that while RFC 5036 extensively discusses various rules and

procedures for establishing and maintaining the LSPs, it does not use the term

“dynamically.” To the extent that RFC 5036 discusses any change in the LSP, it

states that “[n]ote that whether an LSR is an egress for a given FEC may change

over time, depending on the state of the network and LSR configuration settings.”

(RFC 5036, page 21); (RFC 3036, page 22.) The term “FEC,” which stands for

“forward equivalent class,” assigns for each stream of packets the quality of

service (“QoS”) required. One of ordinary skill in the art would have understood

that based on this excerpt from RFC 5036, the state of the network (e.g.,

congestion, delay) and the LSR configuration setting can change the FEC and as

such, if a packet stream requires a certain QoS, there may have to be certain

changes in the LSP assigned to the MPLS.

      41.    This understanding is consistent with the ’056 Patent, which states

that “LSPs can be established by network operators for a variety of purposes, such

as to guarantee a certain level of performance, to route around network congestion,

or to create tunnels for virtual private networks. MPLS can be used to create end-

to-end circuits, with specific performance characteristics, across any type of

transport medium.” (’056 Patent, 7:14-19.)

      42.    Of particular note, RFC 5036 does not dictate that an MPLS tunnel

must use a different LSP upon detection of congestion or delay. According to RFC

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5036, a congestion or delay in the MPLS domain can be remedied by, for example,

expanding the resource reserved on the same LSP instead. While the LSP with the

same identifier is used, one of ordinary skill in the art would not have known

whether the same LSP, after the additional resource has been allocated, would

constitute the “dynamically determined” LSP by the LDP since it is LDP, through

exchanging various messages, that results in the QoS characteristics of the LSP.

      43.    RFC 5036 states that “[t]he main advantage of the conservative mode

is that only the labels that are required for the forwarding of data are allocated and

maintained. This is particularly important in LSRs where the label space is

inherently limited, such as in an ATM switch. A disadvantage of the conservative

mode is that if routing changes the next hop for a given destination, a new label

must be obtained from the new next hop before labeled packets can be forwarded.”

(RFC 5036, page 21); (RFC 3036, page 22.) RFC 5036 further states that “[t]he

main advantage of the liberal label retention mode is that reaction to routing

changes can be quick because labels already exist. The main disadvantage of the

liberal mode is that unneeded label mappings are distributed and maintained.”

(RFC 5036, page 22); (RFC 3036, page 23.)

      44.    RFC 5036 states that “[t]he MPLS architecture discusses some of the

considerations when choosing a label distribution protocol for use in particular

MPLS applications such as Traffic Engineering [RFC2702].” (RFC 5036, page 5);

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(RFC 3036, page 5.) RFC 5036 explains the "traffic engineering" application as

LSRa (i.e., the ingress LSR) sends traffic matching some criteria via an LSP to

non-directly connected LSRb (i.e., the egress LSR) rather than forwarding the

traffic along its normally routed path. (RFC 5036, page 10); (RFC 3036, page 11.)

One of ordinary skill in the art would have understood that the aforementioned

“some criteria” may be the QoS criteria required by the stream of packets

transported via the MPLS network.

      45.    In order to understand how an LSP is selected based on the “some

criteria,” I refer to a standard document entitled “Requirements for Traffic

Engineering Over MPLS,” which is known as RFC 2702 (“RFC 2702”). RFC

2702 is published by the Internet Engineering Task Force Network Working Group

in September 1999. As discussed above, RFC 2702 is cited for providing a

discussion of label distribution protocols by RFC 5036 (and RFC 3036). (RFC

5036, page 5); (RFC 3036, page 5).

      46.    RFC 2702 states that “Traffic Engineering (TE) is concerned with

performance optimization of operational networks. In general, it encompasses the

application of technology and scientific principles to the measurement, modeling,

characterization, and control of Internet traffic, and the application of such

knowledge and techniques to achieve specific performance objectives.” (RFC

2702, page 4.)

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      47.    RFC 2702 states that “[t]he attributes associated with traffic trunks

and resources, as well as parameters associated with routing, collectively represent

the control variables which can be modified either through administrative action or

through automated agents to drive the network to a desired state. In an operational

network, it is highly desirable that these attributes can be dynamically modified

online by an operator without adversely disrupting network operations.” (RFC

2702, page 10.)

      48.    RFC 2702 states that “[p]ath management concerns all aspects

pertaining to the maintenance of paths traversed by traffic trunks. In some

operational contexts, it is desirable that an MPLS implementation can dynamically

reconfigure itself, to adapt to some notion of change in ‘system state.’ Adaptivity

and resilience are aspects of dynamic path management.” (RFC 2702, page 14.)

Notably, RFC 2702 does not state that an LSP is dynamically determined by the

LDP, as required by claims 1, 18, 21 of the ’056 Patent. Instead, the traffic

engineering aspect of the MPLS network needs to address the dynamic path

management.

      49.    RFC 2702 lists a number of different dynamic path management

methods in Sections 5.6.1-5.6.5 on pages 15-18. Among these methods, significant

differences exist. The Administratively Specified Explicit Paths (Section 5.6.1)

specifies explicit path for a traffic trunk by operator action, which specifies path

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completely or partially (and thus may change over time) The Hierarchy of

Preference Rules for Multi-Paths (Section 5.6.2) allows a set of candidate explicit

paths for a given traffic trunk together with a defined hierarchy of preference

relations on the paths, which under failure scenarios the preference rules are

applied to select an alternate path from the candidate list. The Resource Class

Affinity Attributes (Section 5.6.3) utilizes a constraint-based routing to compute an

explicit path for a traffic trunk subject to resource class affinity constraints. The

Adaptivity Attribute (Section 5.6.4) changes paths when more efficient paths

become available through the re-optimization process. The Load Distribution

Across Parallel Traffic Trunks (Section 5.6.5) distributes the load across multiple

trunk paths, wherein a flexible means of load assignment to multiple parallel traffic

trunks carry traffic between a pair of nodes is possible. All of these are, according

to RFC 2702, part of the dynamic path management.

      50.    Among the significant difference of the above listed dynamic path

management methods in RFC 2702, some have a prespecified LSP or LSPs (e.g.,

Administratively Specified Explicit Paths, Hierarchy of Preference Rules for

Multi-Paths, and Load Distribution Across Parallel Traffic Trunks) and some must

establish a new LSP or LSPs (Resource Class Affinity Attributes, Adaptivity

Attribute). Again, according to RFC 2702, they are all part of dynamic path

management.

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      51.    Of note, while RFC 2702 explains a number of dynamically managing

paths, it does not discuss the LDP in any context, let alone the role of LDP in

dynamically determining a specific LSP.

      52.    In light of what was known to one of ordinary skill in the art at the

time of alleged invention of the ’056 Patent (e.g., RFC 5036, RFC 3036, RFC

2702), one of ordinary skill in the art would not have known what the claim term

“dynamically determined” by the LDP means. This is because the changes in the

LSPs tunneling packets through the MPLS network can be one of many options

describes above, which are vastly different in scopes and methods, and the patent

does not indicate which one, if any, of them to use. Since RFC 5036, RFC 3036,

the IETF standards cited in the ’056 patent and in the Nettles Declaration do not

use the term “dynamically,” and RFC 2702 does not use the term “LDP,” the

meaning of the claim term “dynamically determined” recited in claims 1, 18, 21 of

the ’056 Patent is even more confusing to one of ordinary skill in the art. See Dkt.

37 Exs. 3, 4 (IETF documents submitted alongside and described in the Nettles

Declaration that have no mention of “dynamically”); see also Dkt. 37 Ex. 5 at 10

(Nettles Declaration citing to two IETF documents).




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IX.    CONCLUSION

       53.       As explained above, I have concluded that the claim term

“dynamically determined” in the context of claims 1, 18, and 21 of the ’056 Patent

is indefinite.

       54.       At the time this declaration is written, I have not yet prepared any

charts, slides, or presentation materials that summarize my opinions stated in this

declaration. For any deposition or trial, I may prepare and use certain charts, slides,

or presentation materials that summarize the materials that I have relied on to form

my opinions set forth in this declaration and the contents of this declaration itself.



I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

Executed on March 22, 2021 in St. Louis, Missouri.




                                    Paul S. Min, Ph.D.




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                  Appendix A – Paul Min Curriculum Vitae
                                Paul S. Min, Ph.D.
                     Washington University in Saint Louis
          (Webpage : https://ese.wustl.edu/faculty/Pages/Paul-Min.aspx)

                                psm@wustl.edu
                           +1 (314) 853-6200 (phone)

                              Campus Box 1223
                         Academy Building Room 218A
                             St. Louis, MO 63130

Education


Year   College or University           Degree
1987   The University of Michigan      Ph.D. in Electrical Engineering
1984   The University of Michigan      M.S. in Electrical Engineering
1982   The University of Michigan      B.S. in Electrical Engineering


Professional Experience


From:         1990
To:           Present
Organization: Washington University, St. Louis

Summary:

 2015 -         Senior Professor - Department of Electrical Systems Engineering

 2011 – 2014 Chair – Undergraduate Curriculum, Department of Electrical and
             Systems Engineering
 2000 – 2002
                Chair – Graduate Curriculum, Department of Electrical and
                Systems Engineering
 2002 - 2014

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 1997 - 2008 Associate Professor - Department of Electrical and Systems
             Engineering
 1996 - 2002 On leave from full-time duty at Washington University – as
             Presidents of MinMax Technologies and Erlang Technology.)
 1996
             Associate Professor - Department of Electrical Engineering
 1990 - 1996
                Promoted with Tenure
Teaching
Experience      Assistant Professor - Department of Electrical Engineering

                   “Transmission System and Multiplexing,” Washington University, ESE
                    571
                   “Electrical Laboratory I,” Washington University, EE 250.
                   “Communication Theory,” Washington University, ESE 471.
                   “Reliability and Quality Control,” Washington University, ESE 405/505
                   “Signaling and Control of Communications Networks,” Washington
                    University, ESE 572.
                   “Introduction to Electronic Circuits,” Washington University, ESE232
                   “Queueing Systems and Discrete Stochastic Processes,” Washington
                    University, EE 536 / CS 567.
                   “Digital Computer,” Washington University, EE 260M / CS 260.
                   “Data Networks,” Washington University, EE 530.
                   “Electrical Circuit Analysis,” Washington University, ESE 230.
                   “Computer/Communications System Analysis I,” Washington University,
                    EE 557/ CS 557.
                    “Computer/Communications System Analysis II,” Washington
                    University,
                    EE558 / CS 558.
                    “Digital Systems Laboratory,” Washington University, EE 455
                    / CS 455.

From:           1999
To:             2008
Organization:   Erlang Technology, Inc., St. Louis, Missouri
Title:          Founder and President
Summary:        Up to 70 employees, $40M in total capital raised from 5 VCs and 3
                Corporations
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                  Received “Product of Year” Award from Analog Zone Magazine in 2004

From:             1997
To:               1999
Organization:     MinMax Technologies, Inc., St. Louis, Missouri
Title:            Founder and President
Summary:          Fabless semiconductor company, designing high performance
                  switching ASICs

From:             September 1987
To:               August 1990
Organization:     Bellcore, New Jersey
Title:            Member of Technical Staff
Summary:          Member of New Network Architecture Development Group

From:             1983
To:               1987
Organization:     Department of Electrical Engineering, The University of Michigan
Title:            Graduate Instructor
Summary:          Instructor for senior level Electrical Engineering Laboratory Class.
                  Received a Best “Best Graduate Instructor Award” from the
                  Department of Electrical Engineering


    Professional Affiliations, Achievements & Awards


    Technical Program Committee, COMCAS 2019, Tel Aviv, November 2021.
    Technical Program Committee, COMCAS 2019, Tel Aviv, November 2019.
    Technical Program Committee, COMCAS 2017, Tel Aviv, November 2017.
    Technical Program Committee, COMCAS 2015, Tel Aviv, October 2015.
    Past-Chair, Saint Louis Section of the Institute of Electrical and Electronics
     Engineers (IEEE), 2015.
    Member of Executive Committee, Saint Louis Section of the IEEE, 2010-2015.
    Chair, Saint Louis Section of the IEEE, 2014.
    Technical Program Committee, COMCAS 2013, Tel Aviv, October 2013.
    Vice Chair, Saint Louis Section of the IEEE, 2013

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 Treasurer, Saint Louis Section of the IEEE, 2012.
 The Best Paper Award at MOBILITY 2011, October 2011, Barcelona, Spain.
 Counselor, Student Chapter of the Year, the Institute of Electrical and
  Electronics Engineers, 2011.
 Award of Appreciation, Saint Louis Section of the Institute of Electrical and
  Electronics. Engineers, 2011, for contribution to various activities of the Saint
  Louis Section the Institute of Electrical and Electronics Engineers.
 Secretary, Saint Louis Section of the IEEE, 2010.
 Counselor, Student Chapter of the Year, the Institute of Electrical and
  Electronics Engineers, 2010.
 Wall Street Journal Businessmen of Year, 2003.
 American Men and Women of Science, listed in 1997.
 Member, Eta Kappa Nu (Honor Society for Electrical Engineers), inducted in
  1992
 Outstanding Achievement Award, Bellcore, 1990.
 18th ISATA Award of Technical Excellence, the best paper award at ISATA
  1988.
 Rockwell Fellow, Rockwell International, 1985, 1986.
 Outstanding Graduate Student Award, the University of Michigan, 1985.
 Outstanding Teaching Award, the University of Michigan, 1984, 1986.
 Member of Honor's College, the University of Michigan, 1979, 1980.
 Honor's Convocation, the University of Michigan, 1979.
 Outstanding Freshman Award, the University of Michigan, 1979.
 Woodhaven Rotary Club Scholarship, Woodhaven Rotary Club, 1978.
 Second Place Winner, the State of Michigan Mathematics Prize Competition,
  1977.
   International Program Committee, IASTED International Conference on Communications,
    Internet and Information Technology (CIIT 2005), Cambridge, Massachusetts from October
    31-November 2, 2005.
   International Program Committee, IASTED International Conference on Communications
    2003, Scottsdale, Arizona, 2003.
   International Program Committee, Wireless and Optical Communications 2003, Banff,
    Canada, 2003.
   International Program Committee, Session Chair, Wireless and Optical Communications 2002,
    Banff, Canada, 2002.


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   Invited participant, NSF Workshop on Enhancing International Cooperation in CS/CE
    Research and Education, Portland, 1997.
   Session Chair, the 1993 Conference on Information Sciences and Systems, Baltimore, March
    1997.
   Member, Board of Editors, Journal of Network and Systems Management, 1996-1998.
   Program Committee, International Symposium on Integrated Network Management, San
    Diego, 1997.
   Guest Editor, Journal of Network and Systems Management, Special Issue on Routing in
    Broadband Networks, December 1995 and June 1996.
   Invited participant, ARPA Workshop on Survivability of Large Scale Systems, Washington
    D.C., 1996.
   Special Event Organizer, International Symposium on Integrated Network Management, Santa
    Barbara, 1995.
   Organizing Committee, International Symposium on Integrated Network Management, Santa
    Barbara, 1995.
   Local Arrangements Chair, IEEE Information Theory Workshop on Information Theory
    Multiple Access and Queueing, St. Louis, 1995.
   Chair, Communications Chapter, St. Louis Section of the IEEE, 1995.
   Participant, IEEE Information Theory Workshop on Information Theory, Multiple Access and
    Queueing, St. Louis, 1995.
   Participant, ARPA/AFOSR Non-Linear Optics and Communication Workshop, Denver, 1994.
   Participant, CNRI Giga Bit Network Workshop, Washington D.C., 1993.
   Participant, IFIP/IEEE International Workshop on Distributed Systems, New Jersey, 1993.
   Program Committee, International Conference on Computer Communications and Networks,
    San Diego, 1992.
   Session Chair, ISMM International Conference, New Orleans, 1990.
   Senior Member, IEEE.
   Member, IEEE Committee on Network Operations and Management.
   Member, IEEE Committee on Computer Communications.
   Registered Specialist, Hong Kong Research Grant Council.
   Reviewer, IEEE Transactions on Communications.
   Reviewer, IEEE Transactions on Networking.
   Reviewer, IEEE Journal on Selected Areas in Communications.
   Reviewer, Journal of Network and Systems Management.
   Reviewer, Telecommunication Systems.
   Reviewer, Computers and Electrical Engineering.
   Reviewer, ETRI Journal.
   Reviewer, IEEE Transactions on Automatic Control.

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    Reviewer, IEEE Communications.
    Book Reviewer, Prentice Hall.
    Book Reviewer, Morgan Kaufmann Publishers, Inc.
    Book Reviewer, Irwin Publishing Co.

University Activities:
 Undergraduate Studies Committee, School of Engineering and Applied Science (2012 –
   Present)
 Faculty Advisor for IEEE Student Chapter (2009 – Present)
 Ambassador for McDonnell International Scholar Academy (2007 – 2013)
 Web Development Committee (2006 – 2008)
 University Judicial Board (1998 - 2000)
 Resource Generation Committee (1994 - 1995)
 Top 20 Committee (1992 - 1995)
 Telecommunications Committee, Chair (1991 - 1997)
 Library Planning Committee (1991 - 1992)
 Computer Engineering Committee (1990 - 1996)
 Communications Curriculum Committee (1990 - 1992)
 Resources Committee (1990 - 1992)



    Patents


Patent No. Date     Title
10,623,323 04/14/20 Network Devices and a Method for Signature Pattern
10,284,476 05/07/19 Detection Hierarchical Pattern Matching Devices and
                    Methods
 7,110,411 09/19/06 Method of and Apparatus for WFQ Scheduling Using a
                    Plurality of Scheduling Queues to Provide Fairness, High
                    Scalability, and Low Computational Complexity
 7,106,738 09/12/06 Method of and Apparatus for High Speed Packet
                    Switching Using Train Packet Queuing and Providing
                    High Scalability
 6,859,455 02/22/05 Method of and Apparatus for Building and Using Multi-
                    Dimensional Index Trees for Multi-Dimensional Data
                    Objects


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 6,614,789 09/02/03 Method of and Apparatus for Matching Strings of
                    Different Lengths
 6,359,885 3/19/02 Multi-Channel Packet Switching Apparatus Having
                    Traffic Flow Controlling and Checking Functions
 6,128,292 10/03/00 Packet Switching Apparatus with Multi-Channel and
                    Multi-Cast Switching Functions and Packet Switching
                    System Using the Same
 5,788,161 12/13/98 Network Designer for Communication Networks
 5,526,352 06/11/95 Integrable Low Complexity Multi-Channel Switch
 5,440,549 08/08/95 Nonblocking Multi-Channel Switching with Multicasting
                    Capability


Publications


   Yu, Qixiang, Luo, Z, and Min, P.S., “Intrusion Detection in Wireless Sensor
    Networks for Destructive Intruders.” Proceedings of the APSIPA 2015
    conference. December 16-19, 2015.
   Hung, C.P., and Min, P.S., “Simple Web Application Framework.”
    Submitted for publication in the IEEE Transactions on Cloud Computing.
   Luo, Z., and Min, P.S., “Parallel Implementation of Energy-Based Target
    Localization Methods in Wireless Sensor Networks.” Proceeding of the
    2014 IEEE SOUTHEASTCON.
   Yu, Q., Luo, Z., and Min, P.S., “Intrusion Detection in Wireless Sensor
    Networks for Destructive Intruder.” Proceeding of 2014 International
    Conference on Smart Computing (SMARTCOMP 2014).
   Luo, Z., and Min, P.S., “Survey of Target Localization Methods in Wireless
    Sensor Networks,” 19th IEEE International Conference on Networks (ICON
    2013), Singapore, December 11-13, 2013.
   Hung, C.P., and Min, P.S., “Deriving and Visualizing the Lower Bounds of
    Information Gain for Prefetch Systems,” 19th IEEE International
    Conference On Networks (ICON 2013), Singapore, December 11-13, 2013.
   Hung, C.P., and Min, P.S., “Access LUT without CAM - Improved Pearson
    Hashing for Collision Reduction,” 19th IEEE International Conference On
    Networks (ICON 2013), Singapore, December 11-13, 2013.
   Luo, Z and Min, P.S., “Target Localization in Wireless Sensor Networks for
    Industrial Control with Selected Sensors.” International Journal of
    Distributed Sensor Networks, Volume 2013 (2013), Article ID 304631.

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 Hung, C.P., and Min, P.S. “Performance Evaluation of Distributed Mobile
  Application Virtualization Services,” International Journal on Advances in
  Internet Technology, Vol. 5, no. 3&4, 2012, pp. 65-83.
 Hung, C.P. and Min, P.S., “Performance evaluation of distributed
  application virtualization services using the UMTS mobility model,”
  MOBILITY 2011 The First International Conference on Mobile Services,
  Resources, and Users, 23-29 Oct. 2011.
   Hung, C.P. and Min, P.S., “Service Area Optimization For Application Virtualization
    Using UMTS Mobility Model,” International Conference on Internet Computing, pp.
    128-134, Las Vegas, July 18-21, 2011.
   Hung, C.P. and Min, P.S., “Application Virtualization Using UMTS Mobility Model,”
    ICOMP'11, September, 2011.
   Hung, C.P. and Min, P.S., “Infrastructure Arrangement for Application Virtualization
    Service,” the 9th International Information and Telecommunication Technologies
    Symposium, Vol.1, pp. 78-85, Rio de Janeiro, December 2010.
   Hung, C.P. and Min, P.S., “Probabilistic Approach to Network-Based Virtual
    Computing,” the 9th International Information and Telecommunication Technologies
    Symposium, Vol.1, pp. 117-124, Rio de Janeiro, December 2010.
 Shiravi, A. and Min, P. S., “On the Latency Bound of Proportional Nested-
  DRR with Credit Adjusting,” 2007 Workshop on High Performance
  Switching and Routing HPSR 2007, July 2007.
   Shiravi, A. and Min, P. S., “LOOFA-PB: A Modified LOOFA Scheduler for Variable-
    Length Packet Switching.” 2007 IEEE International Conference on Communications
    (ICC 2007), Glasgow, June 2007.
 Shiravi, A., Kim, Y. G., and Min, P. S., “Congestion Prediction of Self-
  Similar Network through Parameter Estimation,” Proceedings of 2006
  IEEE/IFIP Network Operations & Management Symposium, April 2006,
  Vancouver.
 Shiravi, A., Kim, Y. G., and Min, P. S., “Traffic Dispatching Algorithm in
  Three-Stage Switch,” Proceedings of 5th International Conference on
  Networking, April 2006, Mauritius.
 Shiravi, A., Kim, Y. G., and Min, P. S., “Proportional Nested Deficit Round
  Robin with Credit Adjusting,” Proceedings of 2nd Int’l Conf. on Quality of
  Service in Heterogeneous Wired/Wireless Networks (QShine 2005), Orlando,
  August 2005.
 Shiravi, A., Kim, Y. G., and Min, P. S., “Proportional Nested Deficit Round
  Robin: Improving the Latency of Packet Scheduler with an O(1)
  Complexity,” Proceedings of International Workshop on Advanced

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    Architectures and Algorithms for Internet Delivery and Applications (AAA-
    IDEA 2005), Orlando, June 2005
 Kim, Y. G., Shiravi, A., and Min, P. S., “Prediction-Based Routing through
  Least Cost Delay Constraint,” Proceedings of IEEE IPDPS 2004, Santa Fe,
  April 2004.
 Kim, Y. G. and Min, P. S., “On the Prediction of Average Queuing Delay
  with Self-Similar Traffic,” Proceedings of IEEE GLOBECOM 2003, San
  Francisco, December 2003.
   Hu, C., Saidi, H., Yan, P. Y., and Min, P.S., “A Protocol Independent Policer And Shaper
    Using Virtual Scheduling Algorithm,” Proceedings of ICCCAS 2002.
   Hu, C., Saidi, H., and Min, P.S., “DB_WFQ: An Efficient Fair Queueing Using Binary
    Counter,” Proceeding of Coins 2002.
   Yoon, U. and Min, P.S., “Performance Analysis of Radio Link Control Mechanism in W-
    CDMA System”, IEEE VTC’01 Fall, October 2001, New Jersey
   Akl, B., Hegde, M.V., Naraghi-Pour, M., and Min, P.S., “Multi-Cell CDMA Network
    Design,” IEEE Transaction on Vehicular Technology, Volume 50, No. 3, pp. 711-722,
    May 2001.
   Yoon, U., Park, S., Min, P.S., “Performance Analysis of Multiple Rejects ARQ at RLC
    (Radio Link Control) for Packet Data Service in W-CDMA System,” IEEE Globecom,
    November 2000, San Francisco.
   Yoon, U., Park, S., Min, P.S., “Performance Analysis of Multiple Rejects ARQ for RLC
    (Radio Link Control) in the Third Generation Wireless Communication,” WCNC,
    September 2000, Chicago.
   Yoon, U., Park, S., Min, P.S., “Network Architecture and Wireless Data Service Protocol
    based on Mobile IP toward the Third Generation Wireless Communication,” 3G
    Wireless, June 2000, San Francisco, pp. 211-215
 R.G. Akl, M.V. Hegde, M. Naraghi-Pour, P.S. Min, “Multi-Cell CDMA
  Network Design,” IEEE International Conference on Communications, June
  2000.
 R.G. Akl, M.V. Hegde, M. Naraghi-Pour, P.S. Min, “CDMA Network
  Design to Meet Non-uniform User Demand,” International Teletraffic
  Congress, March 2000.
 R.G. Akl, M.V. Hegde, M. Naraghi-Pour, P.S. Min, “CDMA Network
  Design,” IEEE Transactions on Vehicular Technology.
 R.G. Akl, M.V. Hegde, M. Naraghi-Pour, P.S. Min, “Cell Placement in a
  CDMA Network,” IEEE Wireless Communications and Networking
  Conference, September 1999, Volume 2, pp. 903-907.


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 R.G. Akl, M.V. Hegde, P.S. Min, “Effects of Call Arrival Rate and Mobility
  on Network Throughput in Multi-Cell CDMA,” IEEE International
  Conference on Communications, June 1999, Volume 3, pp. 1763-1767.
   Hegde, M.V., Schmid, O.A., Saidi, H., and Min, P.S., “Real-Time Adaptive Bandwidth
    Allocation for High-Speed ATM Switches,” accepted, International Conference on
    Communications, June 1999.
   Akl, B.G., Hegde, M.V., and Min, P.S., “Effects of Mobility on Network Throughput in
    Multicell CDMA Networks,” accepted, International Conference on Communications,
    June 1999.
   Akl, B.G., Hegde, M.V., Min, P.S., and Naraghi-Pour, M., “Flexible Allocation of
    Capacity in Multi-Cell CDMA Networks,” accepted, Vehicular Technology Conference,
    June 1999.
 R.G. Akl, M.V. Hegde, M. Naraghi-Pour, P.S. Min, “Flexible Allocation of
  Capacity in Multi-Cell CDMA Networks,” IEEE Vehicular Technology
  Conference, May 1999, Volume 2, pp. 1643-1647.
   Oh, M.S., and Min, P.S., “Reliability Analysis for One-Turn and Deflection Crossbar
    Architectures and Distributed Fault Recovery Scheme,” Proceedings of GLOBECOM 97,
    Phoenix, November 1997.
   Kim, K.B., Yan, P.Y., Kim, K.S., Schmid, O., and Min, P.S., “A Growable ATM Switch
    with Embedded Multi-Channel Multicasting Property,” Proceedings of GLOBECOM 97,
    pp. 222-226, Phoenix, November 1997.
   Kim, K.B., Yan, P.Y., Kim, K.S., Schmid, O., and Min, P.S., “MASCON: A Single IC
    Solution to ATM Multi-Channel Switching with Embedded Multicasting,” Proceedings
    of ISS 97, pp. 451-458, Toronto, September 1997.
   Maunder, A.S., and Min, P.S., “Investigation of Rate Control in Routing Policies for B-
    ISDN Networks,” Proceedings of the 15th International Teletraffic Congress, Washington
    D.C., June 1997.
   Yan, P.Y., Kim, K.B., Kim, K.S., and Min, P.S., “A Large Scale ATM Switch System
    Using Multi-Channel Switching Paradigm,” Proceedings of ATM Workshop, Lisbon,
    Portugal, May 1997.
   Yan, P.Y., Kim, K.S., Min, P.S., and Hegde, M.V., “Multi-Channel Deflection Crossbar
    (MCDC): A VLSI Optimized Architecture for Multi-Channel ATM Switching,”
    Proceedings of IEEE INFOCOM 97, Kobe, Japan, April 1997.
   Maunder, A., Rayes, A., and Min, P.S., “Analysis and Rate Controlling Link: Leaky
    Bucket with Finite Servers,” Proceedings of the 1997 Conference on Information
    Sciences and Systems, Baltimore, March 1997.
   Shin, S.W., Min, P.S., and Kim, J.H., “Real Time Traffic Management System at Korean
    Mobile Telecom,” Proceedings of 19th Annual Pacific Telecommunications Conference,
    pp. 113-121, Honolulu, Hawaii, January 1997.



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   Min, P.S., Hegde, M.V., Chandra, A., and Maunder, A.S., “Analysis of Banyan Based
    Copy Networks with Internal Buffering,” Journal of High Speed Networks, Volume 5,
    No. 3, pp. 259-275 November 1996.
   Vargas, C., Hegde, M.V., Naraghi-Pour, M., and Min, P.S., “Shadow Prices for Least
    Loaded Routing and Aggregated Least Busy Alternate Routing,” IEEE Transactions on
    Networking, Volume 4, No. 5, pp. 796-807, October 1996.
   Shin, S.W., Kwon, S.M., and Min, P.S., “Capacity Analysis of CDMA with Nonuniform
    Cell Loading and Sizes,” Proceedings of the 34th Annual Allerton Conference, October
    1996.
   Hegde, M.V., Min, P.S., and Sohraby, K., “Note from Guest Editors,” Journal of
    Network and Systems Management, Volume 4, No. 2, pp. 101-102, June 1996.
   Rayes, A. and Min, P.S., “Application of Shadow Price in Capacity Expansion of State
    Dependent Routing,” Journal of Network Systems Management, Volume 4, No. 1, pp. 71-
    93, March 1996.
   Min, P.S., “PCS Revolution in the United States,” Electronics News, No. 2277, January
    22, 1996. Translated and published in Korean.
   Hegde, M.V., Min, P.S., and Sohraby, K., “Guest Editorial,” Journal of Network and
    Systems Management, Volume 3, No. 4, pp. 347-349, December 1995.
   Min, P.S., Hegde, M.V., Saidi, H., and Chandra, A., “Nonblocking Copy Networks in
    Multi-Channel Switching,” IEEE Transactions on Networking, Volume 3, No. 6, pp. 857-
    871, December 1995.
   Rayes, A. and Min, P.S., “Capacity Expansion of Least Busy Alternate Routing with
    Shadow Price,” Proceedings of GLOBECOM 95, Singapore, November 1995.
   Min, P.S., Hegde, M.V., Chandra, A., and Maunder, A., “Throughput and Delay for Copy
    Networks with Internal Buffers,” Proceedings of the 33rd Annual Allerton Conference,
    October 1995.
   Min, P.S., Hegde, M.V., Saidi, H., and Chandra, A., “Fanout Splitting in Nonblocking
    Copy Networks with Shared Buffering,” Proceedings of the 33rd Annual Allerton
    Conference, October 1995.
   Min, P.S., Hegde, M.V., and Rayes, A., “Estimation of Exogenous Traffic Based on Link
    Measurements in Circuit-Switched Networks,” IEEE Transactions on Communications,
    Volume 43, No. 8, pp. 2381-2390, August 1995.
   Maunder, A., Rayes, A., and Min, P.S., “Analysis of Routing Policies in Broadband
    Networks.” Invited paper. Canadian Journal of Electrical and Computer Engineering,
    Special Issue on Planning and Designing of Broadband Networks, Volume 20, No. 3, pp.
    125-136, July 1995.
   Min, P.S., Hegde, M.V., Saidi, H., and Chandra, A., “Architecture and Performance of
    Nonblocking Copy Networks with Multi-Channel Switching,” Proceedings of APCC 95,
    pp. 531-535, Osaka, Japan, June 1995.
   Saidi, H., Min, P.S., and Hegde, M.V., “A New Structural Property of Statistical Data
    Fork,” IEEE Transactions on Networking, Volume 3, No. 3, pp. 289-298, June 1995.

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   Min, P.S., Saidi, H., and Hegde, M.V., “A Nonblocking Architecture for Broadband
    Multi-Channel Switching,” IEEE Transactions on Networking, Volume 3, No. 2, pp. 181-
    198, April 1995.
   Min, P.S., Hegde, M.V., Saidi, H., and Chandra, A., “Multi-Channel Copy Networks:
    Architecture, Performance Model, Fairness, and Cell Sequencing,” Proceedings of IEEE
    INFOCOM 95, pp. 931-938, Boston, April 1995.
   Min, P.S., Hegde, M.V., and Chandra, A., “Analysis of Packet Movements in Internally
    Buffered Copy Networks,” Third ORSA Telecommunications Conference, p. 141, Boca
    Raton, Florida, March 1995.
   Maunder, A. and Min, P.S., “Routing for Multi-Rate Traffic with Multiple Qualities of
    Service,” Proceedings of the Third International Conference on Computer
    Communications and Networks, pp. 104-108, San Francisco, September 1994.
   Saidi, H. and Min, P.S., “Performance Benefits of Multi-Channel Switching,”
    Proceedings of the 32nd Annual Allerton Conference, pp. 583-592, September 1994.
   Min, P.S., “Book Review: `Telecommunications Network Management into the 21st
    Century',” IEEE Communications, Volume 32, No. 7, pp. 5-8, July 1994.
   Saidi, H., Min, P.S., and Hegde, M.V., “Guaranteed Cell Sequence in Nonblocking
    Multi-Channel Switching,” Proceedings of IEEE INFOCOM 94, Toronto, pp. 1420-1427,
    June 1994.
   Min, P.S., Hegde, M.V., Saidi, H., and Chandra, A., “Shared Buffering in Nonblocking
    Copy Networks,” Proceedings of the 1994 IEEE International Symposium on
    Information Theory, Norway, p. 406, June 1994.
   Min, P.S., Hegde, M.V., and Rayes, A., “Real Time Traffic Estimation in Circuit-
    Switched Networks,” Proceedings of the 14th International Teletraffic Congress, France,
    pp. 1175-1184, June 1994.
   Hegde, M.V., Min, P.S., and Rayes, A., “State Dependent Routing: Traffic Dynamics and
    Performance Benefits,” Journal of Network and Systems Management, Volume 2, No. 2,
    pp. 125-149, June 1994.
   Saidi, H., Min, P.S., and Hegde, M.V., “Control of Packet Flow in Statistical Data
    Forks,” Proceedings of the 1994 International Conference on Communications, New
    Orleans, pp. 415-419, May 1994.
   Saidi, H., Min, P.S., and Hegde, M.V., “Nonblocking Multi-Channel Switching in ATM
    Networks,” Proceedings of the 1994 International Conference on Communications, New
    Orleans, pp. 701-705, May 1994.
   Maunder, A. and Min, P.S., “Analysis and Development of Routing Schemes for Multi-
    Rate, Multi-Point Traffic,” Proceedings of the 1994 Conference on Information Sciences
    and Systems, Princeton, pp. 1041-1046, March 1994.
   Min, P.S., Hegde, M.V., and Chandra A., “Internal Buffering in Banyan-Based Copy
    Networks,” Proceedings of the 1994 Conference on Information Sciences and Systems,
    Princeton, pp. 209-214, March 1994.



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   Rayes, A. and Min, P.S., “Capacity Expansion in State Dependent Routing Schemes,”
    Proceedings of the 1994 Conference on Information Sciences and Systems, Princeton, pp.
    237-241, March 1994.
   Vargas, C., Hegde, M.V., Naraghi-Pour, M., and Min, P.S., “Shadow Prices for State
    Dependent Routing,” Proceedings of the 1994 Conference on Information Sciences and
    Systems, Princeton, pp. 243-248, March 1994.
   Saidi, H., Min, P.S., and Hegde, M.V., “Non-Blocking Multi-Channel Switching.”
    Invited paper. Proceedings of the 31st Annual Allerton Conference, pp. 335-344,
    September 1993.
   Min, P.S., Hegde, M.V., and Rayes, A., “Model Based Estimation of Exogenous Traffic,”
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       Incipient Failures,” Proceedings of the 1989 International Symposium on Allied
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       1989.
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       Proceedings of the 1989 American Control Conference, Pittsburgh, pp. 1065-1070, June
       1989.
      Min, P.S., “Detection of Incipient Sensor Failures in Internal Combustion Engines,”
       Proceedings of the 1988 International Symposium on Allied Technology and Automation,
       Paper No. 88038, Florence, Italy, June 1988.




 Testimony Provided or Expected to Provide as Expert Witness


Matter:    Patent Infringement for Fiber Optic Devices
Law Firm: Cooley
Case Name: Certain High-Density Fiber Optic Equipment and Components
           Thereof, U.S.I.T.C. Inv. No. 337-TA-1194
           Testifying Expert for AFL Communications, Panduit, FS.Com,
           Wirewerk, and Siemon
           Completed in October 2020.
           (Expert reports submitted, deposed, and testified during trial.)

Matter:            Patent Infringement for Optical Transport Networks
Law Firm: Venerble
Case Name: Huawei Technologies Co. Ltd v Verizon Communications, Inc., et.
           al., 2:20-cv-0030
           Testifying Expert for Verizon.
           Retained in March 2020.
           (IPR declarations submitted.)

Matter:          Patent Infringement for Wireless Communication
Law Firm: McDermott Will & Emery
Case Name: Bell Northern Research LLC v. ZTE. (Case No. 3:18-cv-01786 - S.D.
           Cal)
           Testifying Expert for ZTE.
           Retained in July 2019.
           (IPR declarations submitted.)
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Matter:          Patent Infringement for Wireless Communication
Law Firm: Jones Day
Case Name: Bell Northern Research LLC v. Kyocera Corp. (Case No. 3:18-cv-
           1785 - S.D. Cal)
           Testifying Expert for Kyocera.
           Completed in May 2019.
           (Claim construction declaration submitted, and deposed.)

Matter:            Patent Infringement for Electronic Payment Systems
Law Firm: Paul Hastings
Case Name: ID Tech Corp. v. Samsung Electronics Co., Ltd., et al. (Case No. No.
           8:17-cv-1748-DOC-JDE (C.D. Cal))
           Testifying Expert for Samsung.
           Retained in January 2019.
           (Expert reports submitted, and deposed.)


Matter:           Patent Infringement for Internet Switching
Law Firm: Maynard Cooper
Case Name: Parity Networks, LLC v. Juniper Networks, Inc., Case No. 6:17-CV-
           00495-RWS-KNM (U.S.D.C.E.D. Tx.)
           Testifying Expert for Juniper.
           Retained in April 2018.
           (IPR declarations submitted.)

Matter:           Patent Infringement for Internet Switching
Law Firm: Morgan Lewis
Case Name: Parity Networks, LLC v. Hewlett Packard Enterprise Company, Case
           No. 6:17-CV-00682 (U.S.D.C.E.D. Tx.)
           Testifying Expert for Hewlett Packard Enterprise Company.
           Retained in September 2018.
           (IPR declarations submitted.)


Matter:          Inter Parte Rexamination for Covered Business Method
Law Firm: Reed Smith LLP
Case Name: NASDAQ v. Miami International
           Expert for Miami International.
           Retained in February 2018.
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           (Expert declarations submitted, and deposed.)

Matter:          Patent Infringement for Mobile Devices
Law Firm: Quinn Emanuel
Case Name: Qualcomm v. Apple, Case No. 3:17-cv-00108-GPC-MDD
           (U.S.D.C.S.D. Cal.)
           Testifying Expert for Qualcomm.
           Completed in April 2019.
           (Expert reports submitted, and deposed.)

Matter:          Patent Infringement for Communication Devices
Law Firm: Venable
Case Name: Sycamore IP Holdings LLC v. Verizon Communications Inc, Case
           No. 2:16-cv-591-JRG-RSP (U.S.D.C. E.D. Texas)
           Testifying Expert for Verizon and Level 3.
           Completed in September 2017.
           (Expert reports submitted, and deposed.)

Matter:          Patent Infringement for Mobile Devices
Law Firm: Alston Bird
Case Name: Huawei Technologies Co. Ltd. V. Nokia Solutions and Networks,
           Case No. 2:16-cv-0056-JRG-RSP (U.S.D.C. E.D. Texas)
           Testifying Expert for Nokia.
           Completed in December 2017.
           (Expert reports submitted.)

Matter:          Patent Infringement for Mobile Devices
Law Firm: Quinn Emanuel
Case Name: Huawei Technologies Co. Ltd. V. Samsung Electronics C. Ltd, Case
           No. 3:16-cv-02787 (U.S.D.C. N.D. Cal)
           Testifying Expert for Samsung.
           Completed in March 2019.
           (Expert reports submitted, and deposed.)


Matter:          Arbitration for Licensing
Law Firm: Alston Bird
Case Name: Nokia v. LG Electronics, International Chamber of Commerce Arb.
           No. 21326
           Testifying Expert for Nokia.
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            Completed in October 2016.
            (Expert reports submitted.)

Matter:          Patent Infringement for Mobile Devices
Law Firm: Ropes and Gray
Case Name: Godo Kaisha IP Bridge 1 v. TCL Communication Technology
           Holdings, Case No. 15-634-SLR-SRF (U.S.D.C.S.D. Delaware.)
           Testifying Expert for IP Bridge.
           Completed in October 2018.
           (Expert reports submitted, and deposed.)


Matter:          Patent Infringement for Mobile Devices
Law Firm: Paul Hastings
Case Name: Odyssey Wireless, Inc,. v. Samsung Electronics Co., Ltd., et al, Case
           No. 3:15-cv-1738-H-RBB (U.S.D.C.S.D. Cal.)
           Testifying Expert for Samsung.
           Completed in October 2016.
           (Expert reports submitted.)

Matter:          Patent Infringement for Mobile Devices
Law Firm: Greenberg Traurig
Case Name: Mobile Telecommunications Technologies LLC v. Amazon.com, Inc.,
           2:13-cv-883-JRG-RSP (U.S.D.C. E.D. Texas)
           Testifying Expert for Amazon.
           Completed in April 2015.
           (Expert reports submitted, and deposed.)



Matter:          Patent Infringement for Mobile Devices
Law Firm: Mayer Brown
Case Name: Mobile Telecommunications Technologies LLC v. LG Electronics
           Mobilecomm U.S.A., Inc., 2:13-cv-947-JRG-RSP (U.S.D.C. E.D.
           Texas)
           Testifying Expert for LG Electronics Mobilecomm.
           Completed in February 2016.
           (Expert reports submitted, and deposed.)


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Matter:           Patent Infringement for Semiconductor Devices
Law Firm: Mayer Brown
Case Name: Inter Parte Reexamination for U.S. Patent Nos. 6,895,520 and
           6,899,332
           Expert for LG Electronics.
           Completed in February 2016.
           (Expert declaration submitted, and deposed.)


Matter:    Patent Infringement in Vehicular Electronics
Law Firm: Gardner, Linn, Burkhart & Flory, L.L.P
Case Name: Magna Electronics Inc. v. TRW Automotive Holdings Corp. et al.,
           Civil Action No. 1:12-cv-00654 (Western District of Michigan), and
           relating to the action styled Magna Electronics Inc. v. TRW
           Automotive Holdings Corp. et al., Civil Action No. 1:13-cv-00324
           (Western District of Michigan).
           Testifying Expert for Magna Electronics
           Completed in February 2016.
           (Expert reports submitted, and deposed.)

Matter:    Patent Infringement in Electronic Circuits
Law Firm: Ropes and Gray
Case Name: Certain Devices Containing Non-Volatile Memory and Products
           Containing the Same (USITC Inv. Nos. 337-TA-922)
           Testifying Expert for Spansion Inc.
           Completed in February 2015.
           (Expert reports submitted.)

Matter:    Trade Secret Misappropriation in Software Method for Cable
           Television Advertisement
Law Firm: Brownstein Hyatt Farber Schreck
Case Name: Cross MediaWorks v. EMT Holdings, USDC Southern District of
           New York, Case No. 1:14-cv-00561-VSB
           Testifying Expert for Cross MediaWorks.
           Completed in April 2015.
           (Testified during injunction hearing.)

Matter:   Patent Infringement in Vehicular Electronics
Law Firm: Steptoe and Johnson

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Case Name: Certain Vision-Based river Assistance System Cameras and
           Components Thereof (USITC Inv. Nos. 337-TA-899 and 907)
           Testifying Expert for Magna Electronics
           Completed in February 2015.
           (Expert reports submitted, deposed, and testified during trial.)


Matter:          Patent Infringement for Vehicular System
Law Firm: Susman Godfrey
Case Name: Eagle Harbor Holdings, LLC, and Mediustech, LLC, v. Ford Motor
           Company, 3:11-cv-05503-BHS (U.S.D.C. Western District of
           Washington at Tacoma)
           Testifying Expert for Mediustech.
           Completed in March 2015.
           (Expert reports submitted, deposed, and testified during trial.)

Matter:          Patent Infringement for Communication Networks
Law Firm: Davis Polk & Wardwell LLP
Case Name: Sprint Communications Company L.P., v. Comcast Cable
           Communications, LLC, Comcast IP Phone, LLC, and Comcast Phone
           of Kansas, LLC. 2:11-cv-02684-KHV-DJW (U.S.D.C. Kansas)
           Testifying Expert for Comcast.
           Retained in March 2012.
           (Expert reports submitted, and deposed.)

Matter:    Patent Infringement for Communication Networks
Law Firm: Quinn Emanuel
Case Name: France Telecom S.A. v. Marvell Semiconductor, Inc., 12-Civ-4986
(S.D.N.Y.)
           Testifying Expert for Marvell.
           Completed in September 2014.
           (Expert reports submitted, deposed, and testified during trial.)

Matter:           Wireless Image Distribution
Law Firm: Jones Day
Case Name: Inter Partes Review of U.S. Patent No. 8,437,797
           Expert for Google Inc.
           Completed in November 2014.
           (Expert declaration submitted.)

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Matter:           Nonvolatile Semiconductor Memories
Law Firm: Jones Day
Case Name: Inter Partes Review of U.S. Patent Nos. 8,301,833 and 8,516,187
           Expert for SanDisk.
           Completed in May 2014.
           (Expert declaration submitted.)

Matter:    Communication Protocols for Wireless Device
Law Firm: Dorsey & Whitney, LLP
Case Name: Certain Point-To-Point Network Communication Devices and
           Products Containing Same (USITC Inv. No. 337-TA-892)
           Testifying Expert for Toshiba
           Completed in May 2014.
           (Expert reports submitted, and deposed.)

Matter:    Patent Infringement for Wireless Networks
Law Firm: Ropes and Gray
Case Name: In the Matter of Certain Wireless Devices With 3G and/or 4G
           Capabilities and Components Thereof (USITC Inv. No. 337-TA-868)
           InterDigital Comms., Inc. v. Huawei Techs. Co., Ltd., No. 13-00008
           (D. Del., filed January 2, 2013), InterDigital Comms., Inc. v. ZTE
           Corp., No. 13-00009 (D. Del., filed January 2, 2013), InterDigital
           Comms., Inc. v. Nokia Corp., No. 1:13-cv-00010 (D. Del., filed
           January 2, 2013), InterDigital Comms., Inc. v. Samsung Elec. Co.,
           Ltd., No. 13-00011 (D. Del., filed January 2, 2013)
           Testifying Expert for Joint Defense Group.
           Completed in February 2014.
           (Expert reports submitted, deposed, and testified during trials.)

Matter:    Patent Infringement for Mobile Communication
Law Firm: Finnegan, Henderson, Farabow, Garrett & Dunner, L.L.P.
Case Name: Certain Digital Media Devices, Including Televisions, Blu-Ray Disc
           Players, Home Theater Systems, Tablets and Mobile Phones,
           Components Thereof and Associated Software (USITC Inv. No. 337-
           TA-882)
           Testifying Expert for LG Electronics, Inc.
           Completed in February 2014.
           (Expert reports submitted, deposed, and testified during trial.)

Matter:     Patent Infringement for Wireless Networks
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Law Firm: Vinson & Elkins LLP
Case Name: Wi-LAN USA, Inc. and Wi-LAN, Inc. v. Telefonaktiebolaget LM
           Ericsson and Ericsson, Inc. (USDC: Southern District of FL - Case
           #1: 12-cv-23569), Wi-LAN USA, Inc. and Wi-LAN, Inc. v. Alcatel-
           Lucent USA, Inc. (USDC: Southern District of FL - Case #1: 12-cv-
           23568-Altonaga/Simonton)
           Testifying Expert for Wi-LAN.
           Completed in May 2015.
           (Expert reports submitted, and deposed.)

Matter:    Patent Infringement for Data Storage
Law Firm: Ropes and Gray, Weil Gotshal
Case Name: Summit Data Systems, LLC v. EMC Corporation., et al. 1:10-cv-
           00749-GMS (U.S.D.C. Delaware)
           Testifying Expert for EMC Corporation and Netapp, Inc.
           Completed in December 2012.
           (Expert reports submitted, and deposed.)

Matter:     Patent Infringement for Wireless Mobile Device
Law Firm: Ashurst Australia
Case Name: Samsung v. Apple, Australian Federal Court Proceeding No. NSD
1243 of 2011
            Testifying Expert for Samsung Electronics.
            Completed in December 2012.
            (Expert reports submitted, deposed, and testified during trial.)

Matter:    Patent Infringement for Wireless Mobile Devices
Law Firm: Quinn Emanuel
Case Name: Apple Inc. v. Samsung Electronics Co., Ltd., et al., 4:11-cv-01846-
           LHK (N.D. Cal.) and Samsung Electronics Co., Ltd., et al. v. Apple
           Inc., 4:11-cv-02079 (N.D. Cal.)
           Testifying Expert for Samsung Electronics.
           Completed in July 2012.
           (Expert reports submitted, and deposed.)

Matter:    Patent Infringement for Wireless Mobile Device
Law Firm: Quinn Emanuel
Case Name: Certain Electronic Devices, Including Wireless Communication
           Devices, Portable Music And Data Processing Devices, And Tablet
           Computer, U.S.I.T.C. Inv. No. 337-TA-794
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            Testifying Expert for Samsung Electronics.
            Completed in June 2012.
            (Expert reports submitted, deposed, and testified during trial.)

Matter:    Patent Infringement for Portable Storage Device
Law Firm: White and Case
Case Name: CERTAIN UNIVERSAL SERIAL BUS (“USB”) PORTABLE
           STORAGE DEVICES, INCLUDING USB FLASH DRIVES AND
           COMPONENTS THEREOF, US International Trade Commission
           Investigation No. 337-TA-788
           Testifying Expert Witness for Trek
           Completed in May 2012.
           (Expert reports submitted, and deposed.)

Matter:    Copyright Infringement for Petroleum Processing Software
Law Firm: Osha Liang LLP
Case Name: Aspen Technology, Inc. v. Tekin A. Kunt and M3 Technology, Inc.,
           Case Number: H-10-1127, US District Court, Texas, Houston
           Division.
           Testifying Expert for M3 Technology, Inc.
           Completed in May 2012.
           (Expert reports submitted, deposed, and testified during trial.)

Matter:    Trade Secret Misappropriation for DC-DC converter
Law Firm: Covington & Burling, Haynes Boone
Case Name: Certain DC—DC Controllers and Products Containing Same, US
           International Trade Commission Investigation No. 337-TA-698
           Testifying Expert for UPI.
           Completed in March 2012.
           (Expert reports submitted, deposed, and testified during trial.)

Matter:    Patent Infringement for Parallel Processor
Law Firm: Orrick, Herrington, & Sutcliffe. Kirkland and Ellis.
Case Name: BIAX Corporation v. Nvidia and Sony Civil Action No. 09-cv-01257-
PAB-MEH
           Testifying Expert for Nvidia and Sony
           Completed in March 2012.
           (Expert reports submitted, and deposed.)

Matter:     Patent Infringement for Call Center Technology
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Law Firms: Duffy, Sweeney, and Scott. Foley Lardner.
Case Name: Ronald Katz Technology Licensing v. Citizens Financial Group 7-
           ML-1816-C RGK (FFM)
           Testifying Expert Witness for Citizens Financial Group.
           Completed in 2011.
           (Expert reports submitted, and deposed.)

Matter:    Patent Infringement for Storage Area Network
Law Firm: DLA Piper
Case Name: Network Appliance, Inc., v. Sun Microsystems, Inc., Case Number:
           C-07-06053 EDL, US District Court, Northern District of California,
           San Francisco Division.
           Testifying Expert for Sun Microsystems, Inc.
           Completed in 2010.
           (Expert reports submitted, and deposed.)

Matter:    Patent Infringement for Flat Panel Display Controller
Law Firm: Jones Day
Case Name: Certain Video Displays, Components Thereof, and Products
           Containing Same, US International Trade Commission Investigation
           No. 337-TA-687
           Testifying Expert for Vizio, Inc.
           Completed in 2010.
           (Expert reports submitted, deposed, and testified during trial.)

Matter:    Patent Infringement for Call Center Technology
Law Firms: Foley Lardner
Case Name: Ronald Katz Technology Licensing v. US Bank 7-ML-1816-C RGK
(FFM)
           Testifying Expert Witness for US Bank
           Completed in May 2009.
           (Expert reports submitted, and deposed.)

Matter:    Patent Infringement for USB to VGA Converter
Law Firm: Wang Hartmann, Gibbs, & Cauley, P.C.
Case Name: Displaylink Corporation v. Magic Control Technology Corporation,
           Case No. 5:07-CV-01998-RMW, US District Court, Northern District
           of California, San Francisco Division.
           Testifying Expert for Magic Control Technology Corporation
           Completed in 2009.
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            (Expert reports submitted, and deposed.)

Matter:    Patent Infringement for Flash Memory
Law Firm: Jones Day and Wilson Sansini
Case Name: Certain Flash Memory Controllers, Drives, Memory Card, and Media
           Players and Products Containing Same. US International Trade
           Commission Investigation No. 337-TA-619
           Testifying Expert for SanDisk Corporation.
           Completed in 2008.
           (Expert reports submitted, deposed, and testified during trial.)

Matter:          Patent Infringement for Semiconductor Packaging
Law Firm: Jones Day
Case Name: Certain Semiconductor Chips with Minimized Chip Package Size and
           Products Containing the Same. US International Trade Commission
           Investigation No. 337-TA-605
           Testifying Expert for Freescale Semiconductor
           Completed in 2008.
           (Expert reports submitted, deposed, and testified during trial.)

Matter:    Patent Infringement for Automatic Switching System
Law Firms: Jones Day, and Heller Ehrman, LLP.
Case Name: ATEN International Co., Ltd and ATEN Technology, Inc. v. Belkin
           Corporation, Belkin Logistics, Inc. and Emine Technology Co., Ltd.
           US International Trade Commission Investigation No. Ltd 337-TA-
           589
           Testifying Expert for Belkin Corporation, Belkin Logistics, Inc., and
           Emine Technology Co., Ltd.
           Completed in 2007.
           (Expert reports submitted, deposed, and testified during trial.)

Matter:    Patent Infringement for Dual Mode Communication
Law Firm: Wilmer Cutler Pickering Hale and Dorr, LLP
Case Name: Broadcom Corporation v. Qualcomm Incorporated SACV05-467-JVS
(RNBx)
           Testifying Expert Witness for Broadcom Corporation
           Completed in 2007.
           (Expert reports submitted, deposed, and testified during trial.)


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                Appendix B – List of Reviewed Materials

 U.S. Patent No. 7,519,056 Managing Traffic in a Multiport Network Node
   Using Logical Ports (“the ‘056 Patent”) to Ishwar, et.al.
 File history of U.S. Patent No. 7,519,056
 Declaration of Scott Nettles, Ph.D., March 1, 2021
 LDP Specification, Request for Comments 5036, Internet Engineering Task
   Force Network Working Group, October 2007
 LDP Specification, Request for Comments 3036, Internet Engineering Task
   Force Network Working Group, January 2001
 Requirements for Traffic Engineering Over MPLS, RFC 2702, September
   1999
 draft-martini-l2circuit-encap-mpls-09.txt
 draft-martini-12circuit-encap-mpls-04




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